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10
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11
                                  NORTHERN DISTRICT OF CALIFORNIA
12
                                        SAN FRANCISCO DIVISION
13

14   UNITED STATES OF AMERICA,                      )   NO. CR-21-00294 WHO
                                                    )   [FILED JULY 27, 2021]
15           Plaintiff,                             )
                                                    )
16      v.                                          )
                                                    )
17   PAUL FREDERICK GIUSTI,                         )
                                                    )
18           Defendant.                             )
                                                    )
19   UNITED STATES OF AMERICA,                      )   NO. CR-21-00456 WHO
                                                    )   [FILED SEPTEMBER 9, 2021]
20           Plaintiff,                             )
                                                    )
21      v.                                          )
                                                    )
22   RECOLOGY SAN FRANCISCO, et al.,                )
                                                    )
23           Defendants.                            )
                                                    )
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     NOTICE OF RELATED CASES
     U.S. v. GIUSTI; US v. RECOLOGY S.F., et al.; US v. NURU; US v. PORTER          v. 7/10/2018
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 1   UNITED STATES OF AMERICA,                       ) NO. CR-21-00490 WHO
                                                     ) [FILED DECEMBER 16, 2021]
 2           Plaintiff,                              )
                                                     )
 3      v.                                           )
                                                     )
 4   MOHAMMED NURU,                                  )
                                                     )
 5           Defendant.                              )
                                                     )
 6

 7   UNITED STATES OF AMERICA,                       )   NO. CR-22-00270 CRB
                                                     )   [FILED JULY 21, 2022]
 8           Plaintiff,                              )
                                                     )   NOTICE OF RELATED CASE IN A CRIMINAL
 9      v.                                           )   ACTION
                                                     )
10   JOHN FRANCIS PORTER,                            )
                                                     )
11           Defendant.                              )
                                                     )
12

13     The United States of America, pursuant to Local Criminal Rule 8-1, hereby notifies the Court that the
14 four above-captioned criminal cases are related. The newly-filed case is United States v. John Francis

15 Porter, No. CR-22-00270 CRB. Defendant Porter is charged with conspiracy to commit bribery of a

16 local official, Mohammed Nuru, and with bribery of Nuru. During the period of time relevant to the

17 charges, Porter worked for entities charged in No. CR-21-00456 WHO. Paul Giusti is identified as a co-

18 conspirator in Porter’s indictment. Based upon these facts, the cases are related within the meaning of
19 Local Rule 8-1(b)(1) because they involve the same events and occurrences. Furthermore, the cases are

20 related within the meaning of Local Rule 8-1(b)(2) because, if heard by separate judges, the actions

21 likely would involve substantial duplication of labor by the two judges. Per the requirement of Local

22 Criminal Rule 8-1(c)(4), government counsel states that assignment of these cases to a single judge is

23 likely to conserve judicial resources and promote an efficient determination of each action.

24 DATED: July 25, 2022                                         Respectfully submitted,
25                                                              STEPHANIE M. HINDS
                                                                United States Attorney
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27                                                              /s/ Katherine M. Lloyd-Lovett
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28                                                              Assistant United States Attorney

     NOTICE OF RELATED CASES
     U.S. v. GIUSTI; US v. RECOLOGY S.F., et al.; US v. NURU; US v. PORTER                    v. 7/10/2018
